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                             UNITED STATES BANKRUPTCY COURT
                                WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

    IN RE:                                        §
                                                  §    Case No. 21-30071
    PDG PRESTIGE INC.                             §    (Chapter 11)
                                                  §
             Debtor.                              §

                                   NOTICE OF PLAN REDLINE
                            (FIRST AMENDED VS. SECOND AMENDED)

   TO THE HONORABLE H. CHRISTOPHER MOTT, U.S. BANKRUPTCY JUDGE:

          PDG PRESTIGE, INC. debtor and debtor in possession provides to the Court, creditors,

   and parties in interest a redline of the first amened plan (Docket No. 110) versus the second

   amended plan (Docket No. 141), attached hereto.



    Dated: March 29, 2022                 Respectfully submitted:

                                          WEYCER, KAPLAN, PULASKI & ZUBER, P.C.

                                          By:       /s/ Jeff Carruth
                                                JEFF CARRUTH (TX SBN:. 24001846)
                                                3030 Matlock Rd., Suite 201
                                                Arlington, Texas 76105
                                                Telephone: (713) 341-1158
                                                Fax: (866) 666-5322
                                                E-mail: jcarruth@wkpz.com


                                          ATTORNEYS FOR PDG PRESTIGE, INC.,
                                          DEBTOR AND DEBTOR IN POSSESSION




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                                        CERTIFICATE OF SERVICE
            The undersigned hereby certifies that a true and correct copy of the foregoing was served on the
   date specified in the file stamp above by electronic notice to all ECF users who have appeared in this case
   to date.
                                                      ______/s/ Jeff Carruth_______________
                                                              Jeff Carruth

   21-30107-hcm Notice will be electronically mailed to:      MNevarez@LawOfficesMRN.com,
                                                              MRN4Bankruptcy@gmail.com
   Steven B. Bass on behalf of Creditor United States of
   America Internal Revenue Service                           Brad W. Odell on behalf of Creditor City bank
   Steven.Bass@usdoj.gov, tina.travieso@usdoj.gov             bodell@mhba.com,
                                                              memert@mhba.com;mreynolds@mhba.com;bwodellscvtx
   James W. Brewer on behalf of Creditor New Mexico Real      w@ecf.axosfs.com
   Estate Advisors, Inc. d/b/a Colliers International
   jbrewer@kempsmith.com, tschoemer@kempsmith.com             David W. Parham on behalf of Creditor City Bay Capital
                                                              LLC
   Jeff Carruth on behalf of Debtor PDG Prestige, Inc.        david.parham@akerman.com,
   jcarruth@wkpz.com,                                         esther.mckean@akerman.com;david.clark@akerman.com;k
   jcarruth@aol.com;ATTY_CARRUTH@trustesolutions.co           risten.mcdanald@akerman.com;rick.boepple@akerman.co
   m                                                          m;teresa.barrera@akerman.com
   -
   Harrel L. Davis, III on behalf of Creditor Suresh Kumar    Clyde A. Pine, Jr. on behalf of Creditor HD Lending, LLC
   hdavis@eplawyers.com,                                      pine@mgmsg.com, clyde.pine@gmail.com
   vrust@eplawyers.com;vpena@eplawyers.com
                                                              James W Rose, Jr on behalf of U.S. Trustee United States
   James Michael Feuille on behalf of Creditor Dennis         Trustee - EP12
   Crimmins                                                   james.rose@usdoj.gov,
   jfeu@scotthulse.com, tmar@scotthulse.com                   carey.a.tompkins@usdoj.gov;Roxana.peterson@usdoj.gov;
                                                              aubrey.thomas@usdoj.gov;omar.e.jones@usdoj.gov
   James Michael Feuille on behalf of Plaintiff Crimmins
   Family Limited Partnership                                 Don Stecker on behalf of Creditor City Of El Paso
   jfeu@scotthulse.com, tmar@scotthulse.com                   don.stecker@lgbs.com

   James Michael Feuille on behalf of Plaintiff MDDC          Casey Scott Stevenson on behalf of Creditor Dennis
   Investments, LLC                                           Crimmins
   jfeu@scotthulse.com, tmar@scotthulse.com                   cste@scotthulse.com, cmac@scotthulse.com

   James Michael Feuille on behalf of Plaintiff White Sands   Casey Scott Stevenson on behalf of Plaintiff Crimmins
   Construction, Inc.                                         Family Limited Partnership
   jfeu@scotthulse.com, tmar@scotthulse.com                   cste@scotthulse.com, cmac@scotthulse.com

   James Michael Feuille on behalf of Plaintiff Dennis        Casey Scott Stevenson on behalf of Plaintiff MDDC
   Crimmins                                                   Investments, LLC
   jfeu@scotthulse.com, tmar@scotthulse.com                   cste@scotthulse.com, cmac@scotthulse.com

   Fred Kennon on behalf of Creditor Dona Ana County          Casey Scott Stevenson on behalf of Plaintiff White Sands
   Treasurer                                                  Construction, Inc.
   fredk@donaanacounty.org                                    cste@scotthulse.com, cmac@scotthulse.com

   David P. Lutz on behalf of Defendant PDG Prestige, Inc.    Casey Scott Stevenson on behalf of Plaintiff Dennis
   dplutz@qwestoffice.net                                     Crimmins
                                                              cste@scotthulse.com, cmac@scotthulse.com
   David P. Lutz on behalf of Defendant PDG, Inc.
   dplutz@qwestoffice.net                                     United States Trustee - EP12
                                                              USTPRegion07.SN.ECF@usdoj.gov
   David P. Lutz on behalf of Defendant Michael J Dixson
   dplutz@qwestoffice.net

   Michael R. Nevarez on behalf of Interested Party Westar
   Investors Group, LLC



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                                  UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF TEXAS
                                          EL PASO DIVISION

        IN RE:                                           §
                                                         §     Case No. 21-30107
        PDG PRESTIGE INC.                                §     (Chapter 11)
                                                         §
                 Debtor.                                 §

I            FIRSTSECOND AMENDED PLAN OF                         REORGANIZATION             OF    PDG
             PRESTIGE INC. DATED March 29, 2022

                           SUMMARY OF IMPORTANT DATES AND DEADLINES

    Deadline to file objections Plan of                      SEE ORDER SETTING DEADLINES
    Reorganization (the "Objection Deadline"):

    Deadline to submit ballot regarding the Plan of          SEE ORDER SETTING DEADLINES
    Reorganization (the "Ballot Deadline"):

    Hearing to consider Plan of Reorganization (the          SEE ORDER SETTING DEADLINES
    “Confirmation Hearing”):

    Location of Confirmation Hearing:                        United States Bankruptcy Court
                                                             511 E San Antonio Ave
                                                             El Paso, TX 79901
                                                             SEE ACCOMPANYING NOTICE OF
                                                             HEARING FOR CURRENT APPEARANCE
                                                             PROTOCOALS
    •                                                                                                              Formatted: Font: Not Bold, No underline
    1. INTRODUCTION.                                                                                               Formatted: Indent: Left: 0", First line: 0", Space After: 0
                                                                                                                   pt
I   1.1.     This FirstSecond Amended Plan of Reorganization of PDG Prestige, Inc. Dated March 29, 2022            Formatted: Font: Italic
             (the “Plan”) under Chapter 11 of the Bankruptcy Code (the “Code”) proposes to pay creditors of
             PDG Prestige Inc. (the “Debtor” or “PDGP”) from cash flow from future operations and/or sales
             of property. This Plan dated March 29, 2022 replaces and supersedes any Plan(s) of prior date(s)
             filed by the Debtor.

    1.2.     For convenience, this plan is based upon the official small business form, Form B25B. However,
             this is not a "small business case" as defined under Code § 101. Controlling definitions and
             rules of construction appear in Section 9 below.

    1.3.     The proposed distributions under the Plan and the material terms of the Plan, including the
             estimated distribution to unsecured creditors is set forth in TABLE 1—Key Plan Terms, Section 2
             of the accompanying Plan ("TABLE 1"). Secured claims will be paid in full according to the
             claim(s) filed or pursuant to the agreement of the parties. General unsecured creditors (other than
             the Westar Litigation Parties) will receive payment in full.

    1.4.     All creditors and equity security holders should refer to Section 3 through Section 6 of this Plan
             for information regarding the precise treatment of their claim. A Disclosure Statement that
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    PDGP PRESTIGE INC. DATED March 29, 2022 — Page 12119527.DOCX[1]
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       provides more detailed information regarding this Plan and the rights of creditors and equity
       security holders has been circulated with this Plan. Your rights may be affected. You should read
       these papers carefully and discuss them with your attorney, if you have one. (If you do not have
       an attorney, you may wish to consult one.)




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2. SUMMARY OF THE PLAN, TABLE 1 — KEY PLAN TERMS. The key terms of this Plan are                                                                               Formatted: Page break before
   set forth in TABLE 1 below.

                                                            TABLE 1 KEY PLAN TERMS
                                                        TREATMENT OF CLAIMS

                                                                                         Interest         el                                             z
                                                                       Asserted                       ... 3      Payment              Total
      Class                      Creditor               Impaired                          Rate        a
                                                                          Claim
                                                                                         Per Year         a
                                                                                                          '     Per Month           Payments             e

    Non-classified Claims
                   WKPZ Fees (estimated)                  n/a                 70,000.00 n/a            1.00          n/a                70,000.00
                   IRS                                    n/a                 58,145.30 n/a           60.00        969.09               58,145.30 If allowed
    Secured Claims
         1         Property Tax - Dona Ana Co.            No                0.00         n/a           n/a           n/a               n/a
         2         Legalist                               No              5,300,000.00         0.10 120.00           n/a             5,300,000.00
         3         NMREA                                  Yes               168,862.00 n/a             n/a           n/a              168,862.00 Note 1
         4         Crimmins                               n/a               n/a            n/a         0.00          n/a               n/a            Note 2
    General Unsecured Claims
      S    Cipnpral linsprorpri                           Yec                57,750.On         0.00    1.00      57,750.00              37,750.00
         6         Equity Interest                        n/a               n/a            n/a         n/a           n/a               n/a
                                                                EQUITY IN REORGANIZED DEBTOR
                                                                      %                  Pre-Bk
                                 Holder                                                                             Consideration
                                                                   Interest              Interest

    .--------'                Michael Dixson                       100.00                Class A      N/A - Payment in full to all creditors
                                                          MANAGEMENT AFTER REORGANIZATION
                                                                                                                   Comp.             Comp.
                                  Name                                        Position
                                                                                                                Per Month           Per Year
    -,---_,                   Michael Dixson                                  Manager                              16,666.67           200,000.00
    .-----..----                   Note: Compensation dependent upon payment of claims and-or funds available.
                                               EXECUTORY CONTRACTS AND/OR LEASES TO BE ASSUMED
                                                                                                                    Cure            Payments
                              Counter Party                         Description of Contract
                                                                                                                  Amount            Per Month
                   Strategic Restaurant Concepts,                Ground Lease (Post-Petition)
                                                                                                                     0.00             0.00
                           LLC (Bubba's 331
                                                           Purchase Sale Contract (Post-petition)
                   The Paul Rothbard Revocable Living
                    Trust Dated August 23, 2006, as                                                                  0.00             0.00
                        Amended and/or Assigns

          ../ Any other ground leases                            One or more ground leases.                                  C.00              0.00
    Z         entered into post-petition
    ___------' Any insurance policies                                Any insurance policies                                  C.00              0.00
    _____------' Any other contract assumed by separate order of the Court.
                                                EXECUTORY CONTRACTS AND/OR LEASES TO BE REJECTED
                              Counter Party         I               Description of Contract
                                               Any and all other contracts                                     1 1 -------     —
                   Note 1: Contingent, disputed. Also subject to potential setoff.
                   Note 2: Claim eliminated in adverasry proceeding.




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                                                              TABLE 1 KEY PLAN TERMS
                                                       TREATMENT OF CLAIMS
                                                                                                       -0
                                                                                           Interest    cu
                                                                         Asserted                   _ -.        Payment              Total              z
       Class                       Creditor               Impaired                           Rate   ' 3
                                                                          Claim                                Per Month           Payments             g.
                                                                                           Per Year      a
    Non-classified Claims
                     WKPZ Fees (estimated)                  n/a                 70,000.00 n/a         1.00            n/a              70,000.00
                     IRS                                    n/a               100,172.02         0.03 54.00         1,855.04          100,172.02
    Secured Claims
          1          Property Tax - Dona Ana Co.             No               0.00         n/a         n/a            n/a             n/a
          2          Legalist                                No             5,200,000.00         0.10 120.00          n/a           5,200,000.00 Note 1
          3          NMREA                                  Yes               168,862.00 n/a           n/a            n/a             168,862.00 Note 2
      4    Crimmins                                         n/a               n/a            n/a       n/a            n/a             n/a            Note 3
    General Unsecured Claims
          5          Geieral Unsecured                      YES                22,627.00       0.00   0.00          see plan           22,627.00             0.00
          6          Equity Interest                        n/a               n/a            n/a       n/a            n/a             n/a
                                                                  EQUITY IN REORGANIZED DEBTOR
                                                                        %                  Pre-Bk
                                   Holder                                                                            Consideration
                                                                     Interest              Interest

    .--------'                  Michael Dixson                       100.00                Class A    N/A - Payment in full to all credit°,
                                                            MANAGEMENT AFTER REORGANIZATION
                                                                                                                    Comp.            Comp.
                                    Name                                        Position
                                                                                                               Per Month           Per Year
    .------__.----              Michael Dixson                                  Manager                             16,666.07        200,000.00
                                     Note: Compensation dependent upon payment of claims and-or funds available.
    .-------
                                                 EXECUTORY CONTRACTS AND/OR LEASES TO BE ASSUMED
                                                                                                                     Cure          Payments
                                Counter Party                         Description of Contract
                                                                                                                    Amount         Per Month

                     Strategic Restaurant Concepts                  Ground lease post-petition                              0.00             0.00
                             LLC (Bubba's 33)
    "zz ,z/ Any ground leases                                      One or more ground leases.                               0.00             0.00
                   entered into post-petition
    ..____-------' Any insurance policies                              Any insurance policies                               0.00             0.00
    _____.------' Any other contract assumed by separate order of the Court.
                                                  EXECUTORY CONTRACTS AND/OR LEASES TO BE REJECTED
                                Counter Party         I               Description of Contract

    -,----'.                                     Any and all other contracts                                   _—     ----------
                                                                                                                        -----1'--------------
                                                                                                                                   - ------------•
                     Note 1: Claim paid in accordance with DIP order. See Section 5.
                     Note 2: Contingent, disputed. Also subject to potential setoff. See Section 5.
                     Note 3: Crimmins has not filed a formal proof of claim. See Section 5.




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3. CLASSIFICATION OF CLAIMS

       The classification of claims and interests and the impairment of claims and interests is set forth in
       TABLE 1.

4. TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS, U.S. TRUSTEES FEES, AND
   PRIORITY TAX CLAIMS

4.1.       Unclassified Claims. Certain types of claims are automatically entitled to specific treatment
           under the Code. Under Code §1123(a)(1), administrative expense claims, and priority tax claims
           are not in classes. They are not considered impaired, and holders of such claims do not vote on
           the Plan. They may, however, object if, in their view, their treatment under the Plan does not
           comply with that required by the Code. As such, pursuant to Code §1129(a)(1), the Debtor has
           not placed such claims in any class.

4.2.       Administrative Expenses. Administrative expenses are costs or expenses of administering the
           Debtor’s Chapter 11 case which are allowed under Code §507(a)(2). Administrative expenses
           also include the value of any goods sold to the Debtor in the ordinary course of business and
           received within 20 days before the date of the bankruptcy petition. The Code requires that all
           administrative expenses be paid on the Effective Date of the Plan, unless a particular claimant
           agrees to a different treatment.

           As of the filing of this Plan, the Debtor has received no notice of any administrative expense,
           other than attorneys’ fees and expenses of Weycer Kaplan Pulaski & Zuber P.C. (“WKPZ”)
           incurred for PDGP. As a condition of and prior to the Effective Date, PDGP shall reserve
           sufficient funds to satisfy the anticipated final allowed administrative claim of WKPZ for fees
           and expenses.

4.3.       Priority Tax Claims.

           4.3.4.3.1.       Priority tax claims are unsecured income, employment, and other taxes described
                    by Code §507(a)(8). UnlessPursuant to Code §1129(a)(9), hnless the holder of such a
                                                                                                                 (Formatted                      J
                    §507(a)(8) priority tax claim agrees otherwise, it must receive the present value of such
                    claim, in regular monthly installments paid over a period not exceeding five (5) years
                    from the order of relief. (which order of relief occurred on February 15, 2021).               Formatted: Font: Not Italic   ]
                    AsThe two (2) claims in this class consist of the Internal Revenue Service (Proof of
                    Claim No. 4, as amended, and discussed below) and the Texas Comptroller (Proof of
                    Claim No. 6, in the amount of $1,000).

                    The Debtor will treat such claims, to the extent allowed, in accordance with Code
                    §1129(a)(9) and commence equal monthly payments in the first full calendar month
                    following the Effective Date (which month is anticipated as of the filing of this Plan, to
                    be May, 2022).

                    The outstanding balance of the onlyIRS priority tax claim is the potentialshall accrue
                    interest at the rate of Three Percent (3.00%) per annum on and after the Effective Date
                    until paid in full.

           4.3.2.   The Debtor recently cured various un-filed employment tax returns, and the Internal
                    Revenue Service on March 21, 2022 amended Proof of Claim No. 4 to include a priority

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                claim ofin the IRS, Proof of Claim No. 4, it the face amount of $58,145.30.
                This100,172.02 (and with a general unsecured claim appears to be estimated 940-941
                employment taxesin the amount of $2,627.64, for Q3 2018 through Q4 2020. The Debtor
                reserve the right to object to thisa total claim to the extent of $102,799.66).

       4.3.3.   At the request of the Internal Revenue Service, the Debtor incorporates the following
                terms and conditions into the Plan.

                The debt owed by the Debtor to the Internal Revenue Service is a non-dischargeable debt,
                except as otherwise provided for in the Bankruptcy Code, and that the Debtor hadif the
                Debtor should default, the Internal Revenue Service is not subject to the provisions of the
                Bankruptcy Code so that the Internal Revenue Service can take whatever actions are
                necessary to collect said debt in the event of default.

                A failure by the Debtor to make a payment to the Internal Revenue Service pursuant to
                the terms of the Plan shall be an event of default, and as to the Internal Revenue Service,
                there is an event of default if payment is not received by the fifteenth (15th) day of each
                month. If there is a default, the Internal Revenue Service must send a written demand for
                payment, and said payment must be received by the Internal Revenue Service within
                fifteen (15) days of the date of the demand letter. The Debtor can receive up to three (3)
                notices of default from the Internal Revenue Service; however, on the third (3rd) notice
                of default from the Internal Revenue Service, the third (3rd) notice of default cannot be
                cured, and the Internal Revenue Service may accelerate its allowed claim(s), past and
                future, and declare the outstanding amount of such claim(s) to be immediately due and
                owing and pursue any and all available state and federal rights and remedies. These
                default provisions pertain to the entire claim(s) of the Internal Revenue Service, secured,
                unsecured priority, unsecured general and administrative priority.

                The Internal Revenue Service is bound by the provisions of the confirmed Plan and is
                barred under Section 1141 of the Bankruptcy Code from taking any collection actions
                against the Debtor for pre-petition claims during the duration of the Plan (provided there
                is no applicable employees in the default as to the Internal Revenue Service). The period
                of limitations on collection remains suspended under 26 U.S.C. § 6503(h) for the tax
                periods covered by the claim and/being paid under the Plan and terminates on the earlier
                of (1) all required payments to the Internal Revenue Service have been made; or the
                employees were employed by an entity other than the Debtor.(2) thirty (30) days after the
                date of the demand letter (described above) for which the debtor failed to cure the default.

                The Debtor’s failure to remain current on its ongoing tax obligations shall be an event of
                default under the terms of the Plan. The Debtor is required to stay current on all ongoing
                tax reporting/tax payments with the Internal Revenue Service. If the debtor defaults to the
                Internal Revenue Service (in the timely filing of any future tax return and/or the payment
                of any ongoing tax liability) this is an event of default to the plan term agreement. The
                Internal Revenue Service must send a written demand to the Debtor or Reorganized
                Debtor of the default and the Debtor must cure the default within fifteen (15) days of the
                date on the demand letter. If the default is not cured within fifteen (15) days, the Internal
                Revenue Service may assert the balance on the proof of claim still remaining which will
                include tax, interest and penalty to be due and owing and the entire balance (after
                crediting all payments made) may go out for collection.



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                Internal Revenue Service remedies upon default: Upon any final and non-curable default
                by the Reorganized Debtor, the Internal Revenue Service may accelerate its allowed pre-
                and post-petition claims (and any future administrative claims), and declare the
                outstanding amounts of such claims to be immediately due and owing. The Internal
                Revenue Service may pursue any and all available state and federal rights and remedies
                as provided by law without further order of this Court.

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5. TREATMENT OF CLAIMS AND INTERESTS. The following are the classes set forth in the                            Formatted: Normal, Left, Indent: Left: 0", Space After: 0
   Plan, and the proposed treatment that they will receive under the Plan:

5.1.   Class 1 — Property Taxes / Ad Valorem Taxes

       5.1.1.   Identity of Claims in Class: Class 1 consists of the allowed secured claim of Dona Ana
                County, New Mexico or any other governmental entity assesses ad valorem property
                taxes.

       5.1.2.   Treatment:_

                5.1.2.5.1.2.1. Each such tax authority will retain its statutory lien in, to, and/or against    Formatted
                             the Subject Property. As of the filing of this Plan, PDGP believes that no
                             such claims exists and that all such taxes assessed are fully paid through the
                             end of 2021.

                5.1.2.2.      Any ad valorem property taxes for 2021 if not already paid shall be paid
                              upon the earlier of (1) within sixty (60) days of the Effective Date and/or (2)
                              upon the closing of any sale or refinance of the Subject Property.

                              The property taxes shall be pro-rated for any such portion that is sold, as
                              applicable, and upon such payment(s) the liens of Dona Ana County will be
                              deemed to be satisfied.

                5.1.2.3.      Property taxes for 2022 shall be due and payable when due.

       5.1.3.   Voting. Class 1 is unimpaired and deemed to accept the Plan.

5.2.   Class 2 — Legalist allowed secured claim.

       5.2.1.   Identity of Claims in Class: Class 2 consists of the allowed secured claim pursuant to the
                order entered by the Court on April 12, 2021 (Docket No. 43) (the “DIP Order”)
                approving the Code § 364(d) debtor-in-possession financing and primary lien transaction
                between PDGP and Legalist (and which financing was used to extinguish the then
                existing first lien indebtedness owed to HD Lending, LLC). Capitalized terms in this
                Plan §5.2 shall have the same meaning as ascribed to such terms in the DIP Order unless
                otherwise defined herein.

       5.2.2.   Treatment: The DIP Credit Agreement and the DIP Order shall remain in effect and
                govern the relations between the parties following the Effective Date, including but not
                limited to Legalist retaining all liens and/or other interests provided in the DIP Credit
                Agreement and/or DIP Order.


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       5.2.3.   Voting. Class 3 is unimpaired and is entitled to vote for or against the Plan.

5.3.   Class 3 — New Mexico Real Estate Advisors Inc. d/b/a Collier’s International (“NMREA”)

       5.3.1.   Identity of Claims in Class: Class 3 consists of the claim of NMREA purporting to arise
                fromfor the contingent, disputed, and as-second half of-yet unearned portion of the its
                commission under a pre-petition listing agreementExclusive Right to Lease Listing
                Agreement (the “Listing Agreement”) between PDGP and NMREA, which NMREA
                asserts is earned and payable and PDGP asserts is contingent, disputed, and not yet due.
                NMREA asserts a secured claim based upon one or more statutory liens that purport to
                encumber the Subject Property.

       5.3.2.   Treatment:

                5.3.2.1.     NMREA shall retains its liens to secure the contingent commission claim(s)
                             that remain under the Listing Agreement with respect to sales and/or leases
                             of the Subject Property; provided, however, the liens are each reduced by the
                             payment(s) previously received through the closing of the Legalist DIP loan
                             (see Docket No. 43). Within seven (7) days of the Effective Date, NMREA
                             shall amend its recorded liens to reflect the previous paydown(s) under the
                             order approving the Legalist DIP loan (see Docket No. 43).

                5.3.2.2.     Upon the closing of a sale of the Subject Property or any portion thereof for
                             which a commission becomes payable under the Listing Agreement, the
                             Debtor shall pay at closing such commission, and NMREA shall release its
                             liens asserted against the Subject Property, or portion of the Subject Property
                             as applicable, that is sold.

                5.3.2.3.     Within the later of (i) thirty (30) days of the Effective Date or (ii) the closing
                             of any refinancing or extension of the Legalist indebtedness, the Debtor shall
                             deposit into escrow funds in accordance with the Order at Docket No. 43 less
                             any amounts previously paid to NMREA under Section 5.3.2.2 above (the
                             “Escrowed Funds”) for use in satisfying the remaining commission that are
                             or become payable to NMREA.

                5.3.2.5.3.2.4. If and/or when any of the remaining commissions due to NMREA
                             mature, such commissions will be paid (1) within sixty (60) days of the
                                                                                                                  (Formatted   J
                             commission accruing, or, (2) at the option of PDGP, with theupon closing of
                             any applicable sale. and/or lease. Upon any such closing and payment, and
                             in conjunction with such closing, NMREA will releases its liens asserted
                             against the Subject Property or such portion thereof in relation to which
                             NMREA has receivedis receiving payment.

                5.3.2.5.     NMERA and Debtor each reserves all rights, remedies, facts, claims, issues,
                             and/or defenses with respect to the Escrowed Funds

                5.3.2.6.     NMREA shall continue to adhere to the confidentially provisions of the
                             Listing Agreement between PDG-P and NMREA and/or related to the
                             Subject Property.



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       5.3.3.   If actions or events occur that under the terms of the Listing Agreement operate to nullify
                the contingency(ies) upon which the NMREA remaining commission is based and result
                in NMREA no longer being entitled to the balance of its commission, then NMREA shall
                be entitled to no claim and shall immediately release such portion of its liens to permit
                the other disposition to occur.

       5.3.4.   Effective upon the release by NMREA of all of its liens, the Debtor for itself and the
                bankruptcy estate releases NMREA and its agents, officers, directors, employees, agents,
                successors and assigns from any and all claims arising out of or relating to the listing
                agreement and the services provided thereunder.

       5.3.5.   The Bankruptcy Court shall retain jurisdiction over any dispute between NMREA and/or
                the Reorganized Debtor so long as this Bankruptcy Case remain pending.

       5.3.3.5.3.6.     If other dispositions of the Subject Property occur, by lease, sale, or otherwise,
                that operate to nullify the contingency(ies) upon which the NMREA contingency is
                based, then NMREA shall be entitled to no claim and shall immediately release such
                portion of its liens to permit the other disposition to occur.

       5.3.4.5.3.7.     Voting. Class 4 is impaired and is entitled to vote for or against the Plan.

5.4.   Class 4 — Dennis Crimmins (“Crimmins”).

       5.4.1.   Identity of Claims in Class: Crimmins is the Plaintiff with respect to the Crimmins
                Litigation that is referenced and described in the Disclosure Statement and the party
                which has filed a notice of lis pendens against the Subject Property. However, Crimmins
                has not filed a proof of claim in this case.

       5.4.2.   Treatment: This class was resolved by the disposition of the Crimmins Adversary as
                described in the Disclosure Statement. Crimmins holds no claim or interest and will
                receive no distributionCRIMMINS HOLDS NO CLAIM OR INTEREST AND WILL
                RECEIVE NO DISTRIBUTION.                                                                      Formatted: Underline   J
5.5.   Class 5 — General Unsecured Claims. General unsecured claims are not secured by property
       of the estate and are not entitled to priority under Code §507(a).

       5.5.1.   Identity of Claims in Class: As set forth in Exhibit PDGP304 to the Disclosure
                Statement, the Class 65 general unsecured creditors consistconsists of general unsecured
                claims in aggregate minimum amount of at least / approximately $32,250.00 and
                consisting of only the disputed claim of City Bay Capital LLC.

                Treatment: The Class 6 creditors will receiveSince the full payment of Disclosure
                Statement, the allowed amount of each suchIRS has amended its proof of claim to
                include a general unsecured claim in 60 equal installments paid on or before the 15th
                dayamount of $2,627.64.

       5.5.2.   Treatment — City Bay: Upon the agreement of each month commencing with the first
                full month followingCity Bay and the Debtor, PDG, Inc., Michael Dixson, and any and
                all subsidiaries and/or affiliates of Michael Dixson, as referenced and described in City
                Bay proof of claim, the Debtor will pay $20,000 to City Bay within thirty (30) days of the


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               Effective Date of the Plan in full and final satisfaction of the claims of City Bay against
               any of the Debtor and/or the aforementioned parties.

               Mutual Releases. Upon City Bay’s receipt of the $20,000.00 payment from Debtor, City
               Bay, on its own behalf and on behalf of all of its current and former partners, employees,
               agents, entities, attorneys, predecessors, subsidiaries, parent companies, successors,
               beneficiaries, representatives, insurers, affiliates, heirs, executives, administrators,
               directors, officers, board members, members, shareholders, mortgagors, mortgagees,
               investors, creditors, debtors and assigns, and each of their respective successors and
               assigns, and for anyone claiming by, through or under any of them (the “City Bay Release
               Parties”), unconditionally and irrevocably releases, remises, forgives and forever
               discharges Debtor, PDG, Inc., and Michael Dixson, and all of their current and former
               partners, employees, agents, entities, attorneys, predecessors, subsidiaries, parent
               companies, successors, beneficiaries, representatives, insurers, affiliates, heirs,
               executives, administrators, directors, officers, board members, members, shareholders,
               mortgagors, mortgagees, investors, creditors, debtors and assigns, and each of their
               respective successors and assigns, and for anyone claiming by, through or under any of
               them (the “Dixson Release Parties”), from and against any and all obligations, actions,
               suits, causes of action, claims, counterclaims, demands, liabilities, indebtedness, breaches
               of contract, breaches of duty or any relationship, acts, omissions, misfeasance,
               malfeasance, debts, sums of money, accounts, compensations, contracts, controversies,
               promises, covenants, judgments, losses, damages, costs or expenses of any type, kind,
               nature, description or character whatsoever, whether in law, admiralty, arbitration, equity
               or otherwise, whether known or unknown, and whether accrued or hereafter maturing
               from the beginning of the world to the date of this Agreement, relating to the Mortgage
               Brokerage Agreement, dated May 29, 2019 (the “Brokerage Agreement”).

               Upon City Bay’s receipt of the $20,000.00 payment from Debtor, the Dixson Release
               Parties unconditionally and irrevocably releases, remises, forgives and forever discharges
               the City Bay Release Parties from and against any and all obligations, actions, suits,
               causes of action, claims, counterclaims, demands, liabilities, indebtedness, breaches of
               contract, breaches of duty or any relationship, acts, omissions, misfeasance, malfeasance,
               debts, sums of money, accounts, compensations, contracts, controversies, promises,
               covenants, judgments, losses, damages, costs or expenses of any type, kind, nature,
               description or character whatsoever, whether in law, admiralty, arbitration, equity or
               otherwise, whether known or unknown, and whether accrued or hereafter maturing from
               the beginning of the world to the date of this Agreement, relating to the Brokerage
               Agreement.

               Non-Disparagement. City Bay, on the one hand, and Debtor, PDG, Inc., and Michael
               Dixson, on the other hand, each agree that they will refrain from making any statement
               having or causing a diminishing effect on the reputation, goodwill or business of the
               other party (including its current and former employees, officers, directors, agents,
               attorneys, owners, shareholders, divisions, affiliates, parents, subsidiaries, predecessors,
               successors, beneficiaries, heirs and assigns), or which tortiously interferes with the
               contracts and relationships of the other party, relating to events, occurrences or
               transactions taking place from the beginning of the world to the date hereof.

               Treatment- IRS. The IRS unsecured claim shall be paid in full according to the same
               schedule as the IRS priority claim as set forth above, but shall not bear interest.


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         5.5.3.       Voting. Class 65 is impaired and may vote for or against the Plan.

5.6.     Class 96 — Class of Equity Interest Holders.                                                             Formatted: Keep with next
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         All prepetition equity interest owners shall retain their equity interests in the reorganized Debtor
         following the Effective Date.

6.       ALLOWANCE AND DISALLOWANCE OF CLAIMS

6.1.     Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a final
         non-appealable order, and as to which either: (i) a proof of claim has been filed or deemed filed,
         and the Debtor or another party in interest has filed an objection or otherwise which is the subject
         of a pending contested matter, adversary proceeding and/or other contested matter; or (ii) no
         proof of claim has been filed, and/or (iii) the Debtor has scheduled such claim as disputed,
         contingent, or unliquidated.

6.2.     Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
         disputed claim unless such claim is allowed by a final non-appealable order.

6.3.     Settlement of Disputed Claims. After the Effective Date, the Debtor will have the power and
         authority to settle and compromise a disputed claim without court approval and without
         compliance with Bankruptcy Rule 9019.

7.       PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

7.1.     Assumed Executory Contracts and Unexpired Leases.

7.1.1.   The Debtor ASSUMES the executory contracts and/or unexpired leases referenced and described
         in TABLE 1 upon the date of the entry of the order confirming this Plan, including specifically
         the broker contract.

7.1.2.   The Debtor will be conclusively deemed to have REJECTED all executory contracts and/or
         unexpired leases not expressly assumed above, or by a motion to assume filed on or before thirty
         (30) days following the Effective Date, or as otherwise specified in TABLE 1.
                                                   -
7.1.3.   For the avoidance of doubt, the Debtor / Reorganize Debtor may file a motion to assume any
         other executory contracts and/or leases through and until the thirtieth (30th) day following the
         Effective Date.

7.1.3.7.1.4.      PROOF OF CLAIM FOLLOWING REJECTION: A proof of a claim arising from
         the rejection of an executory contract or unexpired lease under this section must be filed no
         later than fourteen (14) days after the date of the order confirming this Plan. Any such
         claim will be treated, if allowed general unsecured claim and the general unsecured creditor class
         will be adjusted accordingly.

8.     MEANS OF IMPLEMENTING THE PLAN.

8.1.     Source of Payments. Payments and distributions under the Plan will be funded by (1) a sale of
         the Subject Property, (2) lease and/or rental income of the Subject Property, and/or (3) existing
         financing and/or post-Effective Date re-financing.


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         For the avoidance of doubt, the potential sale of Lot 1A to The Paul Rothbard Revocable Living
         Trust Dated August 23, 2006 (“Rotbnard Trust”) that was referenced and descried in the
         Disclosure Statement shall not occur because the Rothbard Trust withdrew the offer. Thus, each
         of Lot 1A and Lot 3A (the two (2) lots of the Subject Property) will be the subject of one or more
         sales post-Effective Date by the Reorganized Debtor.

  8.2.   Post-confirmation Management. The post-confirmation management of the Debtor, and the
         compensation for each such person is set forth in the Disclosure Statement and in TABLE 1.

  8.3.   Risk Factors. The proposed Plan has the following risks: The Debtor potentially will be unable
         to complete the sale of the Subject Property in accordance with the development plan. The
         Debtor potentially will not generate sufficient cash flow to service the debts to be paid over time
         under the Plan. The general economic uncertainty associated with the COVID-19 pandemic
         provides substantial additional risk.

9. GENERAL PROVISIONS

  9.1.   Definitions and Rules of Construction. The definitions and rules of construction set forth in
         Code §§101 and 102 shall apply when terms defined or construed in the Code. Other terms are
         defined throughout the Plan and/or the Disclosure Statement, and terms may be defined in the
         Disclosure Statement and then used in the Plan and vice versa. Any reference to the Debtor that
         applies to any period of time after the Effective Date shall refer to the Debtor as the Reorganized
         Debtor. In addition, the following terms used in the Plan and/or Disclosure Statement are defined
         below.

         9.1.1.   [reserved].

  9.2.   Severability. If any provision in this Plan is determined to be unenforceable, the determination
         will in no way limit or affect the enforceability and operative effect of any other provision of this
         Plan.

  9.3.   Captions. The headings contained in this Plan are for convenience of reference only and do not
         affect the meaning or interpretation of this Plan.

  9.4.   Primacy of the Plan and Confirmation Order. To the extent of any conflict or inconsistency
         between the provisions of the Plan on the one hand, and the Confirmation Order on the other
         hand, the provisions of the Confirmation Order shall govern and control.

  9.5.   Binding Effect. The rights and obligations of any entity named or referred to in this Plan will be
         binding upon, and will inure to the benefit of the successors or assigns of such entity.

  9.6.   Controlling Effect. Unless a rule of law or procedure is supplied by federal law (including the
         Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Texas govern this
         Plan and any agreements, documents, and instruments executed in connection with this Plan,
         except as otherwise provided in this Plan.

  9.7.   Corporate Governance. After the Effective Date of the order confirming the Plan, the
         management of the Debtor will consist of the following: Michael Dixson, President, Director and
         Manager (compensation $200,000 per year, if funds available).



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9.8.    Corporate Authority. All actions and transactions contemplated under the Plan shall be
        authorized upon confirmation of the Plan without the need of further approval, notice or
        meetings, that might otherwise be required under applicable state law or otherwise, other than the
        notice provided by serving this Plan on all known creditors of PDGP, all interest holders, and all
        current directors or managers o of PDGP.

9.9.    Sales of Property. Any sales, transfers, and/or conveyances of some or all of the Subject
        Property shall be made pursuant to, at minimum, constitutes sales under Code §§ 363(f),
        1122(a)(5), and/or 1125(b)(4), and each such sale, transfer, and/or conveyance shall be free and
        clear and any lien, claims, encumbrances, and/or any other interests, expect as specified above
        with respect to particular Lots and/or particular conveyances. See also Section 6.1 of the Plan.

9.10.   Fixing of Claims. To the extent that the modification and/or fixing of any claim occurs under the
        Plan, the Plan also constitutes an objection to any filed proof of claim and/or scheduled claim
        under Code §502 and/or Bankruptcy Rules 3007 and 9014, and any applicable Local Rules.

9.11.   Settlement of Claims and Disputes. The Plan also constitutes a motion under Bankruptcy Rule
        9019 to the extent necessary to confirm the Plan.

9.12.   Debtor name change. The Debtor may change its name and/or adopt one or more business
        aliases after the Effective Date.

10. EFFECT OF CONFIRMATION OF PLAN —, DISCHARGE

On the effective dateEffective Date of the Plan, the Debtor shall be discharged from any debt that arose
before confirmation of the Plan, subject to the occurrence of the effective date, to the extent specified in
Code §1141(d)(1)(A) except that the Debtor shall not be discharged of any debt (i) imposed by the Plan,
(ii) of a kind specified in Code §1141(d)(6)(A) if a timely complaint was filed in accordance with
Bankruptcy Rule 4007(c), or (iii) of a kind specified in Code §1141(d)(6)(B). After the effective date of
the Plan your claims against the Debtor will be limited to the debts described in clauses (i) through (iii) of
the preceding sentence. All property of the Debtor shall be conveyed to the Reorganized Debtor free and
clear and any liens, claims, encumbrances and/or other interests unless otherwise specified herein.

For the avoidance of doubt, and without contradiction of any portion of the Code, upon the Effective
Date, all property of the estate, including but not limited to any and all real property of the Debtor in
Dona Ana County, New Mexico and further including without limitation each of Lot 1A and Lot 3A of
the Subject Property, shall vest and/or return to Reorganized Debtor, and which property the Reorganized
Debtor shall be free to sell, lease, encumber, and otherwise transact and/or use in any manner without the
necessity of further notice to any creditors and/or parties in interest and without the necessity of prior
approval of the Bankruptcy Court.

11. EFFECTIVE DATE OF PLAN.

The effective date of this Plan (the "Effective Date") is the first business day following the entry of the
Order confirming this Plan.

Alternatively, the Debtor may elect and specify in the Order confirming this plan then the Effective Date
shall be the first business day following the date that is fourteen (14) days after the entry of the order of
confirmation. If, however, a stay of the confirmation order is in effect on that date, the Effective Date will
be the first business day after the date on which the stay of the confirmation order expires or is otherwise
terminated. The Effective Date willmay occur without further notice by the Debtor.

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12. FINAL DECREE

Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of Bankruptcy
Procedure, the Debtor, or such other party as the Court shall designate in the Plan Confirmation Order,
shall file a motion with the Court to obtain a final decree to close the case. Alternatively, the Court may
enter such a final decree on its own motion.

13. OTHER PLAN PROVISIONS

13.1.   Scope and Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction to: (i) hear
        and determine pending applications for the assumption or rejection of contracts or leases and the
        allowance of Claims resulting therefrom; (ii) hear and determine any and all adversary
        proceedings, applications, and contested matters, including any remands of appeals, and including
        any Estate Actions; provided, however, that the Reorganized Debtor shall not be required to seek
        or obtain approval of the Bankruptcy Court under Bankruptcy Rule 9019 or otherwise as to the
        settlement or compromise of any Estate Actions post-Effective Date; (iii) ensure that distributions
        to holders of Allowed Claims are accomplished as provided herein; (iv) hear and determine any
        timely objections to or applications concerning Claims or the allowance, classification, priority,
        estimation, or payment of any Claim or Interest, and to enter Estimation Orders; (v) hear and
        determine all Fee Applications and Fee Claims; provided, however, that the Reorganized Debtor
        shall not be required to seek or obtain approval of the Bankruptcy Court under section Code §330
        or otherwise as to the allowance or payment of professional fees post-Effective Date; (vi) enter
        and implement such orders as may be appropriate in the event the Confirmation Order is for any
        reason stayed, revoked, modified, reversed, or vacated; (vii) hear and determine disputes arising
        in connection with the execution, interpretation, implementation, consummation, or enforcement
        of the Plan; (viii) enter and implement such orders as may be necessary or appropriate to execute,
        interpret, implement, consummate, or enforce the Plan and the transactions contemplated
        thereunder; (ix) consider any modification of the Plan pursuant to Code § 1127, to cure any defect
        or omission or to reconcile any inconsistency in any order of the Bankruptcy Court, including,
        without limitation, the Confirmation Order; (x) enter and implement orders or take such other
        actions as may be necessary or appropriate to restrain interference by any entity with the
        consummation or implementation of the Plan, including, without limitation, to issue, administer
        and enforce injunctions provided for in the Plan and the Confirmation Order; (xi) recover all
        assets of the Debtor and property of the estate, wherever located; (xii) hear and determine matters
        concerning state, local, and federal taxes in accordance with Code §§ 346, 505, and 1146; (xiii)
        hear and determine any other matter not inconsistent with the Code and title 28 of the United
        States Code that may arise in connection with or related to the Plan; and enter a final decree
        closing the Bankruptcy Case.

13.2.   Avoidance actions and retained litigation.

        13.2.1. Post-confirmation litigation and the prosecution of avoidance actions and/or other estate
                claims are referenced and described in the Disclosure Statement and/or one or more plan
                supplements. PDGP will continue to defend and/or prosecute the Crimmins Lawsuit.,
                including but not limited to the plan supplement on file at Docket No. 126 . The claims
                and causes of action so described are expressly retained for the benefit of the estate
                and/or the Reorganized Debtor.

        13.2.2. In addition, and for the avoidance of any potential doubt, the claims and/or causes of
                action that are retained for this Debtor and/or the Reorganized Debtor include any and all
                facts, claims, issues, rights, remedies, and/or defenses relating in any way to PDG

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                Prestige Inc. on the one hand and Suresh Kumar and/or Bankim Bhatt on the other and
                relating in any way to:

                        (1) any aspect of the raising of funds, financial contributions, and/or financing
                            of any type in connection with the proposed and/or actual acquisition of the
                            20-acre tract of property that ultimately was acquired by The Gateway
                            Venture LLC and which property is commonly referred to as 6767 W.
                            Gateway Blvd., El Paso, Texas 79925 and 1122 Airway Blvd., El Paso, TX
                            79925 (and which property is identified through the proceedings in Case No.
                            21-30071),

                        (2) otherwise relating to any of facts, claims, issues, rights, remedies, and/or
                            defenses described in or otherwise relating to the facts and occurrences
                            described in the various pleadings of any and all parties currently on file in
                            Adversary Proceeding No. 21-03009;

                        (3) otherwise relating to any of facts, claims, issues, rights, remedies, and/or
                            defenses described in or otherwise relating to the facts and occurrences
                            described in the various pleadings of The Gateway Ventures, LLC currently
                            on file in Adversary Proceeding No. 21-03009; and/or

                        (4) and any facts, claims, issues, rights, remedies, and/or defenses which may be
                            asserted by PDG Prestige, Inc. (as Debtor or Reorganized Debtor) in
                            Adversary Proceeding No. 21-03009 under one or amended pleadings under
                            the applicable scheduling order(s) in Adversary Proceeding No. 21-03009.

13.2.                                                                                                             Formatted: No bullets or numbering


13.3.   U.S. Trustee Fees. The reorganized PDGP shall (1) file all operating applicable reports as
        required and (2) timely pay all quarterly fees assessed after the Effective Date pursuant to 28
        U.S.C. § 1930(a)(6) until such time as the Bankruptcy Court enters a final decree closing this case
        or enters an order either converting this case to a case under Chapter 7 or dismisses the case.

13.4.   Assets after any subsequent conversion. In the event of a conversion of this case any time after
        the confirmation of this Plan, the assets of the Debtor shall re-vest to the bankruptcy estate of the
        Debtor upon such conversion.


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                                                    PDG PRESTIGE, INC.

                                                    /s/ Michael Dixson
                                                    By: Michael Dixson, President


Jeff Carruth (SBT #24001846)
WEYCER, KAPLAN, PULASKI & ZUBER, P.C.
3030 Matlock Rd., Suite 201
Arlington, TX 76015
(713) 341-1158, fax (866) 666-5322
jcarruth@wkpz.com
ATTORNEYS FOR PDG PRESTIGE INC.
DEBTOR AND DEBTOR IN POSSESSION




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                               UNITED STATES BANKRUPTCY COURT
                                  WESTERN DISTRICT OF TEXAS
                                       EL PASO DIVISION

     IN RE:                                           §
                                                      §     Case No. 21-30107
     PDG PRESTIGE INC.                                §     (Chapter 11)
                                                      §
              Debtor.                                 §

          SECOND AMENDED PLAN OF REORGANIZATION OF PDG PRESTIGE INC.
          DATED March 29, 2022

   1. INTRODUCTION.

   1.1.   This Second Amended Plan of Reorganization of PDG Prestige, Inc. Dated March 29, 2022 (the
          “Plan”) under Chapter 11 of the Bankruptcy Code (the “Code”) proposes to pay creditors of PDG
          Prestige Inc. (the “Debtor” or “PDGP”) from cash flow from future operations and/or sales of
          property. This Plan dated March 29, 2022 replaces and supersedes any Plan(s) of prior date(s)
          filed by the Debtor.

   1.2.   For convenience, this plan is based upon the official small business form, Form B25B. However,
          this is not a "small business case" as defined under Code § 101. Controlling definitions and
          rules of construction appear in Section 9 below.

   1.3.   The proposed distributions under the Plan and the material terms of the Plan, including the
          estimated distribution to unsecured creditors is set forth in TABLE 1—Key Plan Terms, Section 2
          of the accompanying Plan ("TABLE 1"). Secured claims will be paid in full according to the
          claim(s) filed or pursuant to the agreement of the parties. General unsecured creditors (other than
          the Westar Litigation Parties) will receive payment in full.

   1.4.   All creditors and equity security holders should refer to Section 3 through Section 6 of this Plan
          for information regarding the precise treatment of their claim. A Disclosure Statement that
          provides more detailed information regarding this Plan and the rights of creditors and equity
          security holders has been circulated with this Plan. Your rights may be affected. You should read
          these papers carefully and discuss them with your attorney, if you have one. (If you do not have
          an attorney, you may wish to consult one.)




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   2. SUMMARY OF THE PLAN, TABLE 1 — KEY PLAN TERMS. The key terms of this Plan are
      set forth in TABLE 1 below.



                                                            TABLE 1 KEY PLAN TERMS
                                                       TREATMENT OF CLAIMS




                                                                                                      Payments
                                                                                         Interest
                                                                       Asserted                                    Payment            Total           2
           Class                   Creditor            Impaired                           Rate
                                                                         Claim                                    Per Month        Payments           (9
                                                                                         Per Year

       Non-classified Claims
                     WKPZ Fees (estimated)                n/a                70,000.00 n/a          1.00              n/a               70,000.00
                     IRS                                  n/a               100,172.02       0.03 54.00            1,855.04            100,172.02
       Secured Claims
            1        Property Tax - Dona Ana Co.          No                0.00                    n/a               n/a              n/a
            2        Legalist                             No             5,200,000.00       0.10 120.00               n/a            5,200,000.00 Note 1
            3        NMREA                                Yes               168,862.00 n/a        n/a                 n/a              168,862.00 Note 2
            4        Crimmins                             n/a               n/a           n/a     n/a                 n/a              n/a        Note 3
       General Unsecured Claims
            5        General Unsecured                    Yes                22,627 00       0.00   0.00           see plan             22,627 00          0.00
            6        Equity Interest                      n/a               n/a            n/a      n/a               n/a              n/a
                                                                EQUITY IN REORGANIZED DEBTOR
                                                                     %                   Pre-Bk
                                   Holder                                                                            Consideration
                                                                  Interest               Interest

       ---------'               Michael Dixson                     100.00                Class A    N/A - Payment in full to all creditors
                                                          MANAGEMENT AFTER REORGANIZATION
                                                                                                                    Comp.            Comp.
                                    Name                                     Position
                                                                                                                  Per Month         Per Year

       ---------;„              Michael Dixson                               Manager                                16,666.67          200,000.00
                                     Note: Compensation dependent upon payment of claims and-or funds available.
       -------
                                                  EXECUTORY CONTRACTS AND/OR LEASES TO BE ASSUMED
                                                                                                                     Cure          Payments
                                Counter Party                      Description of Contract
                                                                                                                   Amount          Per Month

                     Strategic Restaurant Concepts                Ground lease post-petition                                0.00               0.00
                             LLC (Bubba's 33)
                 /   Any ground leases                           One or more ground leases.                                 0.00               0.00
       z
       -
                     entered into post-petition
                     Any insurance policies                         Any insurance policies                                  0.00               0.00
       -             Any other contract assumed by separate order of the Court.
                                                  EXECUTORY CONTRACTS AND/OR LEASES TO BE REJECTED
                                Counter Party         I            Description of Contract

       -----'''                                  Any and all other contracts                                     '----
                                                                                                                  —---------------
                                                                                                                         -----1'-----------------
                                                                                                                                   -- ------------.
                     Note 1: Claim paid in accordance with DIP order. See Section 5.
                     Note 2: Contingent, disputed. Also subject to potential setoff. See Section 5.
                     Note 3: Crimmins has not filed a formal proof of claim. See Section 5.




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   3. CLASSIFICATION OF CLAIMS

          The classification of claims and interests and the impairment of claims and interests is set forth in
          TABLE 1.

   4. TREATMENT OF ADMINISTRATIVE EXPENSE CLAIMS, U.S. TRUSTEES FEES, AND
      PRIORITY TAX CLAIMS

   4.1.       Unclassified Claims. Certain types of claims are automatically entitled to specific treatment
              under the Code. Under Code §1123(a)(1), administrative expense claims, and priority tax claims
              are not in classes. They are not considered impaired, and holders of such claims do not vote on
              the Plan. They may, however, object if, in their view, their treatment under the Plan does not
              comply with that required by the Code. As such, pursuant to Code §1129(a)(1), the Debtor has
              not placed such claims in any class.

   4.2.       Administrative Expenses. Administrative expenses are costs or expenses of administering the
              Debtor’s Chapter 11 case which are allowed under Code §507(a)(2). Administrative expenses
              also include the value of any goods sold to the Debtor in the ordinary course of business and
              received within 20 days before the date of the bankruptcy petition. The Code requires that all
              administrative expenses be paid on the Effective Date of the Plan, unless a particular claimant
              agrees to a different treatment.

              As of the filing of this Plan, the Debtor has received no notice of any administrative expense,
              other than attorneys’ fees and expenses of Weycer Kaplan Pulaski & Zuber P.C. (“WKPZ”)
              incurred for PDGP. As a condition of and prior to the Effective Date, PDGP shall reserve
              sufficient funds to satisfy the anticipated final allowed administrative claim of WKPZ for fees
              and expenses.

   4.3.       Priority Tax Claims.

              4.3.1.   Priority tax claims are unsecured income, employment, and other taxes described by
                       Code §507(a)(8). Pursuant to Code §1129(a)(9), hnless the holder of such a §507(a)(8)
                       priority tax claim agrees otherwise, it must receive the present value of such claim, in
                       regular monthly installments paid over a period not exceeding five (5) years from the
                       order of relief (which order of relief occurred on February 15, 2021).

                       The two (2) claims in this class consist of the Internal Revenue Service (Proof of Claim
                       No. 4, as amended, and discussed below) and the Texas Comptroller (Proof of Claim No.
                       6, in the amount of $1,000).

                       The Debtor will treat such claims, to the extent allowed, in accordance with Code
                       §1129(a)(9) and commence equal monthly payments in the first full calendar month
                       following the Effective Date (which month is anticipated as of the filing of this Plan to be
                       May, 2022).

                       The outstanding balance of the IRS priority claim shall accrue interest at the rate of Three
                       Percent (3.00%) per annum on and after the Effective Date until paid in full.

              4.3.2.   The Debtor recently cured various un-filed employment tax returns, and the Internal
                       Revenue Service on March 21, 2022 amended Proof of Claim No. 4 to include a priority



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                   claim in the amount of $100,172.02 (and with a general unsecured claim in the amount of
                   $2,627.64, for a total claim of $102,799.66).

          4.3.3.   At the request of the Internal Revenue Service, the Debtor incorporates the following
                   terms and conditions into the Plan.

                   The debt owed by the Debtor to the Internal Revenue Service is a non-dischargeable debt,
                   except as otherwise provided for in the Bankruptcy Code, and that if the Debtor should
                   default, the Internal Revenue Service is not subject to the provisions of the Bankruptcy
                   Code so that the Internal Revenue Service can take whatever actions are necessary to
                   collect said debt in the event of default.

                   A failure by the Debtor to make a payment to the Internal Revenue Service pursuant to
                   the terms of the Plan shall be an event of default, and as to the Internal Revenue Service,
                   there is an event of default if payment is not received by the fifteenth (15th) day of each
                   month. If there is a default, the Internal Revenue Service must send a written demand for
                   payment, and said payment must be received by the Internal Revenue Service within
                   fifteen (15) days of the date of the demand letter. The Debtor can receive up to three (3)
                   notices of default from the Internal Revenue Service; however, on the third (3rd) notice
                   of default from the Internal Revenue Service, the third (3rd) notice of default cannot be
                   cured, and the Internal Revenue Service may accelerate its allowed claim(s), past and
                   future, and declare the outstanding amount of such claim(s) to be immediately due and
                   owing and pursue any and all available state and federal rights and remedies. These
                   default provisions pertain to the entire claim(s) of the Internal Revenue Service, secured,
                   unsecured priority, unsecured general and administrative priority.

                   The Internal Revenue Service is bound by the provisions of the confirmed Plan and is
                   barred under Section 1141 of the Bankruptcy Code from taking any collection actions
                   against the Debtor for pre-petition claims during the duration of the Plan (provided there
                   is no default as to the Internal Revenue Service). The period of limitations on collection
                   remains suspended under 26 U.S.C. § 6503(h) for the tax periods being paid under the
                   Plan and terminates on the earlier of (1) all required payments to the Internal Revenue
                   Service have been made; or (2) thirty (30) days after the date of the demand letter
                   (described above) for which the debtor failed to cure the default.

                   The Debtor’s failure to remain current on its ongoing tax obligations shall be an event of
                   default under the terms of the Plan. The Debtor is required to stay current on all ongoing
                   tax reporting/tax payments with the Internal Revenue Service. If the debtor defaults to the
                   Internal Revenue Service (in the timely filing of any future tax return and/or the payment
                   of any ongoing tax liability) this is an event of default to the plan term agreement. The
                   Internal Revenue Service must send a written demand to the Debtor or Reorganized
                   Debtor of the default and the Debtor must cure the default within fifteen (15) days of the
                   date on the demand letter. If the default is not cured within fifteen (15) days, the Internal
                   Revenue Service may assert the balance on the proof of claim still remaining which will
                   include tax, interest and penalty to be due and owing and the entire balance (after
                   crediting all payments made) may go out for collection.

                   Internal Revenue Service remedies upon default: Upon any final and non-curable default
                   by the Reorganized Debtor, the Internal Revenue Service may accelerate its allowed pre-
                   and post-petition claims (and any future administrative claims), and declare the
                   outstanding amounts of such claims to be immediately due and owing. The Internal


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                   Revenue Service may pursue any and all available state and federal rights and remedies
                   as provided by law without further order of this Court.


   5. TREATMENT OF CLAIMS AND INTERESTS. The following are the classes set forth in the
      Plan, and the proposed treatment that they will receive under the Plan:

   5.1.   Class 1 — Property Taxes / Ad Valorem Taxes

          5.1.1.   Identity of Claims in Class: Class 1 consists of the allowed secured claim of Dona Ana
                   County, New Mexico or any other governmental entity assesses ad valorem property
                   taxes.

          5.1.2.   Treatment:

                   5.1.2.1.     Each such tax authority will retain its statutory lien in, to, and/or against the
                                Subject Property.

                   5.1.2.2.     Any ad valorem property taxes for 2021 if not already paid shall be paid
                                upon the earlier of (1) within sixty (60) days of the Effective Date and/or (2)
                                upon the closing of any sale or refinance of the Subject Property.

                                The property taxes shall be pro-rated for any such portion that is sold, as
                                applicable, and upon such payment(s) the liens of Dona Ana County will be
                                deemed to be satisfied.

                   5.1.2.3.     Property taxes for 2022 shall be due and payable when due.

          5.1.3.   Voting. Class 1 is unimpaired and deemed to accept the Plan.

   5.2.   Class 2 — Legalist allowed secured claim.

          5.2.1.   Identity of Claims in Class: Class 2 consists of the allowed secured claim pursuant to the
                   order entered by the Court on April 12, 2021 (Docket No. 43) (the “DIP Order”)
                   approving the Code § 364(d) debtor-in-possession financing and primary lien transaction
                   between PDGP and Legalist (and which financing was used to extinguish the then
                   existing first lien indebtedness owed to HD Lending, LLC). Capitalized terms in this
                   Plan §5.2 shall have the same meaning as ascribed to such terms in the DIP Order unless
                   otherwise defined herein.

          5.2.2.   Treatment: The DIP Credit Agreement and the DIP Order shall remain in effect and
                   govern the relations between the parties following the Effective Date, including but not
                   limited to Legalist retaining all liens and/or other interests provided in the DIP Credit
                   Agreement and/or DIP Order.

          5.2.3.   Voting. Class 3 is unimpaired and is entitled to vote for or against the Plan.

   5.3.   Class 3 — New Mexico Real Estate Advisors Inc. d/b/a Collier’s International (“NMREA”)

          5.3.1.   Identity of Claims in Class: Class 3 consists of the claim of NMREA for the second half
                   of its commission under a pre-petition Exclusive Right to Lease Listing Agreement (the


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                   “Listing Agreement”) between PDGP and NMREA, which NMREA asserts is earned and
                   payable and PDGP asserts is contingent, disputed, and not yet due. NMREA asserts a
                   secured claim based upon one or more statutory liens that purport to encumber the
                   Subject Property.

          5.3.2.   Treatment:

                   5.3.2.1.     NMREA shall retains its liens to secure the contingent commission claim(s)
                                that remain under the Listing Agreement with respect to sales and/or leases
                                of the Subject Property; provided, however, the liens are each reduced by the
                                payment(s) previously received through the closing of the Legalist DIP loan
                                (see Docket No. 43). Within seven (7) days of the Effective Date, NMREA
                                shall amend its recorded liens to reflect the previous paydown(s) under the
                                order approving the Legalist DIP loan (see Docket No. 43).

                   5.3.2.2.     Upon the closing of a sale of the Subject Property or any portion thereof for
                                which a commission becomes payable under the Listing Agreement, the
                                Debtor shall pay at closing such commission, and NMREA shall release its
                                liens asserted against the Subject Property, or portion of the Subject Property
                                as applicable, that is sold.

                   5.3.2.3.     Within the later of (i) thirty (30) days of the Effective Date or (ii) the closing
                                of any refinancing or extension of the Legalist indebtedness, the Debtor shall
                                deposit into escrow funds in accordance with the Order at Docket No. 43 less
                                any amounts previously paid to NMREA under Section 5.3.2.2 above (the
                                “Escrowed Funds”) for use in satisfying the remaining commission that are
                                or become payable to NMREA.

                   5.3.2.4.     If and/or when any of the remaining commissions to NMREA mature, such
                                commissions will be paid upon closing of any applicable sale and/or lease.
                                Upon any such closing and payment, and in conjunction with such closing,
                                NMREA will releases its liens asserted against the Subject Property or such
                                portion thereof in relation to which NMREA is receiving payment.

                   5.3.2.5.     NMERA and Debtor each reserves all rights, remedies, facts, claims, issues,
                                and/or defenses with respect to the Escrowed Funds

                   5.3.2.6.     NMREA shall continue to adhere to the confidentially provisions of the
                                Listing Agreement between PDG-P and NMREA and/or related to the
                                Subject Property.

          5.3.3.   If actions or events occur that under the terms of the Listing Agreement operate to nullify
                   the contingency(ies) upon which the NMREA remaining commission is based and result
                   in NMREA no longer being entitled to the balance of its commission, then NMREA shall
                   be entitled to no claim and shall immediately release such portion of its liens to permit
                   the other disposition to occur.

          5.3.4.   Effective upon the release by NMREA of all of its liens, the Debtor for itself and the
                   bankruptcy estate releases NMREA and its agents, officers, directors, employees, agents,
                   successors and assigns from any and all claims arising out of or relating to the listing
                   agreement and the services provided thereunder.


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          5.3.5.   The Bankruptcy Court shall retain jurisdiction over any dispute between NMREA and/or
                   the Reorganized Debtor so long as this Bankruptcy Case remain pending.

          5.3.6.   If other dispositions of the Subject Property occur, by lease, sale, or otherwise, that
                   operate to nullify the contingency(ies) upon which the NMREA contingency is based,
                   then NMREA shall be entitled to no claim and shall immediately release such portion of
                   its liens to permit the other disposition to occur.

          5.3.7.   Voting. Class 4 is impaired and is entitled to vote for or against the Plan.

   5.4.   Class 4 — Dennis Crimmins (“Crimmins”).

          5.4.1.   Identity of Claims in Class: Crimmins is the Plaintiff with respect to the Crimmins
                   Litigation that is referenced and described in the Disclosure Statement and the party
                   which has filed a notice of lis pendens against the Subject Property. However, Crimmins
                   has not filed a proof of claim in this case.

          5.4.2.   Treatment: This class was resolved by the disposition of the Crimmins Adversary as
                   described in the Disclosure Statement. CRIMMINS HOLDS NO CLAIM OR
                   INTEREST AND WILL RECEIVE NO DISTRIBUTION.

   5.5.   Class 5 — General Unsecured Claims. General unsecured claims are not secured by property
          of the estate and are not entitled to priority under Code §507(a).

          5.5.1.   Identity of Claims in Class: As set forth in Exhibit PDGP304 to the Disclosure
                   Statement, the Class 5 general unsecured creditors consists of general unsecured claims
                   in aggregate minimum amount of at least / approximately $32,250.00 and consisting of
                   only the disputed claim of City Bay Capital LLC.

                   Since the Disclosure Statement, the IRS has amended its proof of claim to include a
                   general unsecured claim in the amount of $2,627.64.

          5.5.2.   Treatment — City Bay: Upon the agreement of City Bay and the Debtor, PDG, Inc.,
                   Michael Dixson, and any and all subsidiaries and/or affiliates of Michael Dixson, as
                   referenced and described in City Bay proof of claim, the Debtor will pay $20,000 to City
                   Bay within thirty (30) days of the Effective Date of the Plan in full and final satisfaction
                   of the claims of City Bay against any of the Debtor and/or the aforementioned parties.

                   Mutual Releases. Upon City Bay’s receipt of the $20,000.00 payment from Debtor, City
                   Bay, on its own behalf and on behalf of all of its current and former partners, employees,
                   agents, entities, attorneys, predecessors, subsidiaries, parent companies, successors,
                   beneficiaries, representatives, insurers, affiliates, heirs, executives, administrators,
                   directors, officers, board members, members, shareholders, mortgagors, mortgagees,
                   investors, creditors, debtors and assigns, and each of their respective successors and
                   assigns, and for anyone claiming by, through or under any of them (the “City Bay Release
                   Parties”), unconditionally and irrevocably releases, remises, forgives and forever
                   discharges Debtor, PDG, Inc., and Michael Dixson, and all of their current and former
                   partners, employees, agents, entities, attorneys, predecessors, subsidiaries, parent
                   companies, successors, beneficiaries, representatives, insurers, affiliates, heirs,
                   executives, administrators, directors, officers, board members, members, shareholders,
                   mortgagors, mortgagees, investors, creditors, debtors and assigns, and each of their


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                   respective successors and assigns, and for anyone claiming by, through or under any of
                   them (the “Dixson Release Parties”), from and against any and all obligations, actions,
                   suits, causes of action, claims, counterclaims, demands, liabilities, indebtedness, breaches
                   of contract, breaches of duty or any relationship, acts, omissions, misfeasance,
                   malfeasance, debts, sums of money, accounts, compensations, contracts, controversies,
                   promises, covenants, judgments, losses, damages, costs or expenses of any type, kind,
                   nature, description or character whatsoever, whether in law, admiralty, arbitration, equity
                   or otherwise, whether known or unknown, and whether accrued or hereafter maturing
                   from the beginning of the world to the date of this Agreement, relating to the Mortgage
                   Brokerage Agreement, dated May 29, 2019 (the “Brokerage Agreement”).

                   Upon City Bay’s receipt of the $20,000.00 payment from Debtor, the Dixson Release
                   Parties unconditionally and irrevocably releases, remises, forgives and forever discharges
                   the City Bay Release Parties from and against any and all obligations, actions, suits,
                   causes of action, claims, counterclaims, demands, liabilities, indebtedness, breaches of
                   contract, breaches of duty or any relationship, acts, omissions, misfeasance, malfeasance,
                   debts, sums of money, accounts, compensations, contracts, controversies, promises,
                   covenants, judgments, losses, damages, costs or expenses of any type, kind, nature,
                   description or character whatsoever, whether in law, admiralty, arbitration, equity or
                   otherwise, whether known or unknown, and whether accrued or hereafter maturing from
                   the beginning of the world to the date of this Agreement, relating to the Brokerage
                   Agreement.

                   Non-Disparagement. City Bay, on the one hand, and Debtor, PDG, Inc., and Michael
                   Dixson, on the other hand, each agree that they will refrain from making any statement
                   having or causing a diminishing effect on the reputation, goodwill or business of the
                   other party (including its current and former employees, officers, directors, agents,
                   attorneys, owners, shareholders, divisions, affiliates, parents, subsidiaries, predecessors,
                   successors, beneficiaries, heirs and assigns), or which tortiously interferes with the
                   contracts and relationships of the other party, relating to events, occurrences or
                   transactions taking place from the beginning of the world to the date hereof.

                   Treatment- IRS. The IRS unsecured claim shall be paid in full according to the same
                   schedule as the IRS priority claim as set forth above, but shall not bear interest.

          5.5.3.   Voting. Class 5 is impaired and may vote for or against the Plan.

   5.6.   Class 6 — Class of Equity Interest Holders.

          All prepetition equity interest owners shall retain their equity interests in the reorganized Debtor
          following the Effective Date.

   6.     ALLOWANCE AND DISALLOWANCE OF CLAIMS

   6.1.   Disputed Claim. A disputed claim is a claim that has not been allowed or disallowed by a final
          non-appealable order, and as to which either: (i) a proof of claim has been filed or deemed filed,
          and the Debtor or another party in interest has filed an objection or otherwise which is the subject
          of a pending contested matter, adversary proceeding and/or other contested matter; or (ii) no
          proof of claim has been filed, and/or (iii) the Debtor has scheduled such claim as disputed,
          contingent, or unliquidated.



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   6.2.     Delay of Distribution on a Disputed Claim. No distribution will be made on account of a
            disputed claim unless such claim is allowed by a final non-appealable order.

   6.3.     Settlement of Disputed Claims. After the Effective Date, the Debtor will have the power and
            authority to settle and compromise a disputed claim without court approval and without
            compliance with Bankruptcy Rule 9019.

   7.       PROVISIONS FOR EXECUTORY CONTRACTS AND UNEXPIRED LEASES

   7.1.     Assumed Executory Contracts and Unexpired Leases.

   7.1.1.   The Debtor ASSUMES the executory contracts and/or unexpired leases referenced and described
            in TABLE 1 upon the date of the entry of the order confirming this Plan, including specifically
            the broker contract.

   7.1.2.   The Debtor will be conclusively deemed to have REJECTED all executory contracts and/or
            unexpired leases not expressly assumed above, or by a motion to assume filed on or before thirty
            (30) days following the Effective Date, or as otherwise specified in TABLE 1.

   7.1.3.   For the avoidance of doubt, the Debtor / Reorganize Debtor may file a motion to assume any
            other executory contracts and/or leases through and until the thirtieth (30th) day following the
            Effective Date.

   7.1.4.   PROOF OF CLAIM FOLLOWING REJECTION: A proof of a claim arising from the
            rejection of an executory contract or unexpired lease under this section must be filed no
            later than fourteen (14) days after the date of the order confirming this Plan. Any such
            claim will be treated, if allowed general unsecured claim and the general unsecured creditor class
            will be adjusted accordingly.

   8.     MEANS OF IMPLEMENTING THE PLAN.

   8.1.     Source of Payments. Payments and distributions under the Plan will be funded by (1) a sale of
            the Subject Property, (2) lease and/or rental income of the Subject Property, and/or (3) existing
            financing and/or post-Effective Date re-financing.

            For the avoidance of doubt, the potential sale of Lot 1A to The Paul Rothbard Revocable Living
            Trust Dated August 23, 2006 (“Rotbnard Trust”) that was referenced and descried in the
            Disclosure Statement shall not occur because the Rothbard Trust withdrew the offer. Thus, each
            of Lot 1A and Lot 3A (the two (2) lots of the Subject Property) will be the subject of one or more
            sales post-Effective Date by the Reorganized Debtor.

   8.2.     Post-confirmation Management. The post-confirmation management of the Debtor, and the
            compensation for each such person is set forth in the Disclosure Statement and in TABLE 1.

   8.3.     Risk Factors. The proposed Plan has the following risks: The Debtor potentially will be unable
            to complete the sale of the Subject Property in accordance with the development plan. The
            Debtor potentially will not generate sufficient cash flow to service the debts to be paid over time
            under the Plan. The general economic uncertainty associated with the COVID-19 pandemic
            provides substantial additional risk.




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9. GENERAL PROVISIONS

  9.1.    Definitions and Rules of Construction. The definitions and rules of construction set forth in
          Code §§101 and 102 shall apply when terms defined or construed in the Code. Other terms are
          defined throughout the Plan and/or the Disclosure Statement, and terms may be defined in the
          Disclosure Statement and then used in the Plan and vice versa. Any reference to the Debtor that
          applies to any period of time after the Effective Date shall refer to the Debtor as the Reorganized
          Debtor. In addition, the following terms used in the Plan and/or Disclosure Statement are defined
          below.

          9.1.1.   [reserved].

  9.2.    Severability. If any provision in this Plan is determined to be unenforceable, the determination
          will in no way limit or affect the enforceability and operative effect of any other provision of this
          Plan.

  9.3.    Captions. The headings contained in this Plan are for convenience of reference only and do not
          affect the meaning or interpretation of this Plan.

  9.4.    Primacy of the Plan and Confirmation Order. To the extent of any conflict or inconsistency
          between the provisions of the Plan on the one hand, and the Confirmation Order on the other
          hand, the provisions of the Confirmation Order shall govern and control.

  9.5.    Binding Effect. The rights and obligations of any entity named or referred to in this Plan will be
          binding upon, and will inure to the benefit of the successors or assigns of such entity.

  9.6.    Controlling Effect. Unless a rule of law or procedure is supplied by federal law (including the
          Code or the Federal Rules of Bankruptcy Procedure), the laws of the State of Texas govern this
          Plan and any agreements, documents, and instruments executed in connection with this Plan,
          except as otherwise provided in this Plan.

  9.7.    Corporate Governance. After the Effective Date of the order confirming the Plan, the
          management of the Debtor will consist of the following: Michael Dixson, President, Director and
          Manager (compensation $200,000 per year, if funds available).

  9.8.    Corporate Authority. All actions and transactions contemplated under the Plan shall be
          authorized upon confirmation of the Plan without the need of further approval, notice or
          meetings, that might otherwise be required under applicable state law or otherwise, other than the
          notice provided by serving this Plan on all known creditors of PDGP, all interest holders, and all
          current directors or managers o of PDGP.

  9.9.    Sales of Property. Any sales, transfers, and/or conveyances of some or all of the Subject
          Property shall be made pursuant to, at minimum, constitutes sales under Code §§ 363(f),
          1122(a)(5), and/or 1125(b)(4), and each such sale, transfer, and/or conveyance shall be free and
          clear and any lien, claims, encumbrances, and/or any other interests, expect as specified above
          with respect to particular Lots and/or particular conveyances. See also Section 6.1 of the Plan.

  9.10.   Fixing of Claims. To the extent that the modification and/or fixing of any claim occurs under the
          Plan, the Plan also constitutes an objection to any filed proof of claim and/or scheduled claim
          under Code §502 and/or Bankruptcy Rules 3007 and 9014, and any applicable Local Rules.



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  9.11.   Settlement of Claims and Disputes. The Plan also constitutes a motion under Bankruptcy Rule
          9019 to the extent necessary to confirm the Plan.

  9.12.   Debtor name change. The Debtor may change its name and/or adopt one or more business
          aliases after the Effective Date.

  10. EFFECT OF CONFIRMATION OF PLAN, DISCHARGE

  On the Effective Date of the Plan, the Debtor shall be discharged from any debt that arose before
  confirmation of the Plan, subject to the occurrence of the effective date, to the extent specified in Code
  §1141(d)(1)(A) except that the Debtor shall not be discharged of any debt (i) imposed by the Plan, (ii) of
  a kind specified in Code §1141(d)(6)(A) if a timely complaint was filed in accordance with Bankruptcy
  Rule 4007(c), or (iii) of a kind specified in Code §1141(d)(6)(B). After the effective date of the Plan your
  claims against the Debtor will be limited to the debts described in clauses (i) through (iii) of the preceding
  sentence. All property of the Debtor shall be conveyed to the Reorganized Debtor free and clear and any
  liens, claims, encumbrances and/or other interests unless otherwise specified herein.

  For the avoidance of doubt, and without contradiction of any portion of the Code, upon the Effective
  Date, all property of the estate, including but not limited to any and all real property of the Debtor in
  Dona Ana County, New Mexico and further including without limitation each of Lot 1A and Lot 3A of
  the Subject Property, shall vest and/or return to Reorganized Debtor, and which property the Reorganized
  Debtor shall be free to sell, lease, encumber, and otherwise transact and/or use in any manner without the
  necessity of further notice to any creditors and/or parties in interest and without the necessity of prior
  approval of the Bankruptcy Court.

  11. EFFECTIVE DATE OF PLAN.

  The effective date of this Plan (the "Effective Date") is the first business day following the entry of the
  Order confirming this Plan.

  Alternatively, the Debtor may elect and specify in the Order confirming this plan then the Effective Date
  shall be the first business day following the date that is fourteen (14) days after the entry of the order of
  confirmation. If, however, a stay of the confirmation order is in effect on that date, the Effective Date will
  be the first business day after the date on which the stay of the confirmation order expires or is otherwise
  terminated. The Effective Date may occur without further notice by the Debtor.

  12. FINAL DECREE

  Once the estate has been fully administered, as provided in Rule 3022 of the Federal Rules of Bankruptcy
  Procedure, the Debtor, or such other party as the Court shall designate in the Plan Confirmation Order,
  shall file a motion with the Court to obtain a final decree to close the case. Alternatively, the Court may
  enter such a final decree on its own motion.

  13. OTHER PLAN PROVISIONS

  13.1.   Scope and Retention of Jurisdiction. The Bankruptcy Court shall retain jurisdiction to: (i) hear
          and determine pending applications for the assumption or rejection of contracts or leases and the
          allowance of Claims resulting therefrom; (ii) hear and determine any and all adversary
          proceedings, applications, and contested matters, including any remands of appeals, and including
          any Estate Actions; provided, however, that the Reorganized Debtor shall not be required to seek
          or obtain approval of the Bankruptcy Court under Bankruptcy Rule 9019 or otherwise as to the


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          settlement or compromise of any Estate Actions post-Effective Date; (iii) ensure that distributions
          to holders of Allowed Claims are accomplished as provided herein; (iv) hear and determine any
          timely objections to or applications concerning Claims or the allowance, classification, priority,
          estimation, or payment of any Claim or Interest, and to enter Estimation Orders; (v) hear and
          determine all Fee Applications and Fee Claims; provided, however, that the Reorganized Debtor
          shall not be required to seek or obtain approval of the Bankruptcy Court under section Code §330
          or otherwise as to the allowance or payment of professional fees post-Effective Date; (vi) enter
          and implement such orders as may be appropriate in the event the Confirmation Order is for any
          reason stayed, revoked, modified, reversed, or vacated; (vii) hear and determine disputes arising
          in connection with the execution, interpretation, implementation, consummation, or enforcement
          of the Plan; (viii) enter and implement such orders as may be necessary or appropriate to execute,
          interpret, implement, consummate, or enforce the Plan and the transactions contemplated
          thereunder; (ix) consider any modification of the Plan pursuant to Code § 1127, to cure any defect
          or omission or to reconcile any inconsistency in any order of the Bankruptcy Court, including,
          without limitation, the Confirmation Order; (x) enter and implement orders or take such other
          actions as may be necessary or appropriate to restrain interference by any entity with the
          consummation or implementation of the Plan, including, without limitation, to issue, administer
          and enforce injunctions provided for in the Plan and the Confirmation Order; (xi) recover all
          assets of the Debtor and property of the estate, wherever located; (xii) hear and determine matters
          concerning state, local, and federal taxes in accordance with Code §§ 346, 505, and 1146; (xiii)
          hear and determine any other matter not inconsistent with the Code and title 28 of the United
          States Code that may arise in connection with or related to the Plan; and enter a final decree
          closing the Bankruptcy Case.

  13.2.   Avoidance actions and retained litigation.

          13.2.1. Post-confirmation litigation and the prosecution of avoidance actions and/or other estate
                  claims are referenced and described in the Disclosure Statement and/or one or more plan
                  supplements, including but not limited to the plan supplement on file at Docket No. 126 .
                  The claims and causes of action so described are expressly retained for the benefit of the
                  estate and/or the Reorganized Debtor.

          13.2.2. In addition, and for the avoidance of any potential doubt, the claims and/or causes of
                  action that are retained for this Debtor and/or the Reorganized Debtor include any and all
                  facts, claims, issues, rights, remedies, and/or defenses relating in any way to PDG
                  Prestige Inc. on the one hand and Suresh Kumar and/or Bankim Bhatt on the other and
                  relating in any way to:

                          (1) any aspect of the raising of funds, financial contributions, and/or financing
                              of any type in connection with the proposed and/or actual acquisition of the
                              20-acre tract of property that ultimately was acquired by The Gateway
                              Venture LLC and which property is commonly referred to as 6767 W.
                              Gateway Blvd., El Paso, Texas 79925 and 1122 Airway Blvd., El Paso, TX
                              79925 (and which property is identified through the proceedings in Case No.
                              21-30071),

                          (2) otherwise relating to any of facts, claims, issues, rights, remedies, and/or
                              defenses described in or otherwise relating to the facts and occurrences
                              described in the various pleadings of any and all parties currently on file in
                              Adversary Proceeding No. 21-03009;



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                          (3) otherwise relating to any of facts, claims, issues, rights, remedies, and/or
                              defenses described in or otherwise relating to the facts and occurrences
                              described in the various pleadings of The Gateway Ventures, LLC currently
                              on file in Adversary Proceeding No. 21-03009; and/or

                          (4) and any facts, claims, issues, rights, remedies, and/or defenses which may be
                              asserted by PDG Prestige, Inc. (as Debtor or Reorganized Debtor) in
                              Adversary Proceeding No. 21-03009 under one or amended pleadings under
                              the applicable scheduling order(s) in Adversary Proceeding No. 21-03009.



  13.3.   U.S. Trustee Fees. The reorganized PDGP shall (1) file all operating applicable reports as
          required and (2) timely pay all quarterly fees assessed after the Effective Date pursuant to 28
          U.S.C. § 1930(a)(6) until such time as the Bankruptcy Court enters a final decree closing this case
          or enters an order either converting this case to a case under Chapter 7 or dismisses the case.

  13.4.   Assets after any subsequent conversion. In the event of a conversion of this case any time after
          the confirmation of this Plan, the assets of the Debtor shall re-vest to the bankruptcy estate of the
          Debtor upon such conversion.


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                                                     PDG PRESTIGE, INC.

                                                     /s/ Michael Dixson
                                                     By: Michael Dixson, President


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  ATTORNEYS FOR PDG PRESTIGE INC.
  DEBTOR AND DEBTOR IN POSSESSION




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